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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

OSCAR ORONA IANF of N.O., a minor,              §
et al.,                                         §
                                                §
               Plaintiffs,                      §
                                                §
v.                                              §      Civil Action No. 2:24-CV-00049-AM
                                                §
CHRISTOPHER KINDELL, et al .,                   §
                                                §
               Defendants .                     §




                                           ORDER



       On this day came on to be heard Texas Department of Public Safety Defendants’ Motion

for Extension of Time to Respond to Plaintiffs’ First Amended Complaint. Considering the

pleadings of the party herein, this motion is meritorious and, therefore, GRANTED.

       It is ORDERED that Defendants Richard Bogdanski, Joel Betancourt, Christopher Kindell,

Crimson Elizondo, Victor Escalon, and Juan Maldonado’s response to Plaintiffs’ first amended

complaint is due July 3, 2024.



Signed this _______ day of ____________________________, 2024.



                                            __________________________________________
                                            ALIA MOSES
                                            Chief United States District Judge
